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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                                                                     MM   29 Pi   05
                             AUSTiN DIVISION                 2021)




TONY K. MCDONALD, JOSHUA B.
HAMMER, AND MARK S. PULLIAM,
                PLAiNTIFFS,

V.                                       CAUSE NO. 1:19-CV-219-LY

RANDALL 0. SORRELS, LARRY P.
MCDOUGAL, JOE K. LONGLEY,
LAURA GIBSON, BRITNEY E.
HARRISON, ANDRE S B. ALMANZAN,
JERRY C. ALEXANDER, KATE BIHM,
REBEKAH STEELY BROOKER, LUIS
M. CARDENAS, ALISON W. COLV1N,
DEREK COOK, ROBERT D. CRAIN,
CHRISTINA DAVIS, ALISTAIR B.
DAWSON, LESLIE DIPPEL,
MICHAEL DOKUPIL, VICTOR FLORES,
JARROD T. FOERSTER, LAURA GIBSON,
JOHN CHARLES G1NN, SHARI
GOLDSBERRY, MARC E. GRAVELY,
AUGUST W. HARRIS III, JOE "RICE"
HORKEY, JR., WENDY-ADELE
HUMPHREY, MICHAEL K. HURST,
NEIL D. KELLY, DAVID C. KENT,
ALDO D. LOPEZ, YOLANDA CORTES
MARES, ROBERT E. MCKNIGHT, JR.,
STEPHEN J. NAYLOR, AMIE S. PEACE,
SALLY PRETORIUS, CARMEN M. ROE,
ADAM T. SCHRAMEK, DAVID K SERGI,
ALAN E. SIMS, DINESH H. SINGHAL,
JASON SMITH, SANTOS VARGAS,
G. MICHAEL VASQUEZ, K. NICOLE
VOYLES, AMY WELBORN, JAMES
WESTER, JAMES C. WOO, AND
DIANE ST. YVES, IN THEIR OFFICIAL
CAPACITIES AS MEMBERS OF THE
BOARD OF DIRECTORS OF THE STATE
BAR OF TEXAS,
                    DEFENDANTS

          ORDER ON CROSS-MOTIONS FOR SUMMARY JUDGMENT
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         Before the court in the above-styled cause are the parties' cross-motions for summary

judgment, responses, replies, amicus briefs, and exhibits.1 On August 1, 2019, the court held a

hearing on the motions at which all parties were represented by counsel. Having considered the

motions, responses, replies, amicus briefs, the parties' summary-judgment proof, argument of

counsel, post-hearing submissions, case file, and applicable law, the court renders the following

order.

Jurisdiction and venue

         Federal courts have original jurisdiction over "all civil actions arising under the Constitution,

laws or treaties of the United States." 28 U.S.C.        §   1331. This action arises under the First and

Fourteenth Amendments to the United States Constitution and is brought pursuant Section 1983 of

Title 42 of the United States Code. This court has subject-matter jurisdiction under Sections 1331

and 1343 of Title 28 of the United States Code, and venue is proper in this district because at least




         1
           Plaintiffs' Motion for Partial Summary Judgment on Liability filed March 25, 2019
(Doc. #6); Defendants' Opposition to Plaintiffs' Motion for Partial Summary Judgment on Liability
filed May 13, 2019 (Doc. #33); Plaintiffs' Reply in Support of Motion for Partial Summary
Judgment on Liability filed May 31, 2019 (Doc. #63); Defendants' Cross-Motion for Summary
Judgment filed May 13, 2019 (Doc. #35); Plaintiffs' Response in Opposition to Defendants' Cross-
Motion for Summary Judgment filed May 31, 2019 (Doc. #65); Defendants' Reply in Support of
Cross-Motion for Summary Judgment filed June 18, 2019 (Doc. #75); Brief Amicus Curiae of
Goldwater Institute in Support of Plaintiffs' Motion for Preliminary Injunction (Doc. #39); Brief
Amicus Curiae Texas Attorney General Ken Paxton in Support of Plaintiffs' Motion for Partial
Summary Judgment on Liability filed May 14, 2019 (Doc. #40); Texas Legal Ethics Counsel's
Amicus Curiae Brief filed May 17, 2019 (Doe. #49); Brief Amicus Curiae of Former Presidents of
the State Bar of Texas, Forms Chairs of the Texas Bar College, and Former Chairs of the State Bar
of Texas Council of Chairs filed May 20, 2019 (Doe. #53); Brief of amicus Curiae Texas Access
to Justice Commission filed May 20, 2019 (Doe. #54); and Brief Amici Curiae of Concerned
Lawyers of Color (Doe. #84).


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one of the defendants resides in this district and all defendants reside in the State of Texas. See 28

U.S.C.   §   1391(b)(1).

Factual background

         Texas requires all lawyers licensed to practice in the state to enroll in, and pay annual

membership fees to, a statewide bar. See Tex. Gov't Code § 81.051, 81.054, 81.102. The Texas

Legislature established the State Bar of Texas (the "Bar") in 1939 as "an administrative agency of

the Judicial Department of the State." State Bar Act § 2, reprinted in 2 Tex. B.J. 128, 128 (1939).

The operations and responsibilities of the Bar are governed by statute, along with the Bar's internal

rules and policies. The State Bar Act (the "Act") mandates that all attorneys licensed to practice law

in Texas be members of the Bar. The Bar "is a public corporation and an administrative agency of

thejudicial department" of Texas government and is subject to "administrative control" by the Texas

Supreme Court. See Tex. Gov't Code       § 8 1.011(a),   (c).

         The Act specifies the Bar's purposes as follows:

         (1) to aid the courts in carrying on and improving the administration of justice;

         (2) to advance the quality of legal services to the public and to foster the role of the legal

         profession in serving the public;

         (3) to foster and maintain on the part of those engaged in the practice of law high ideals and

         integrity, learning, competence in public service, and high standards of conduct;

         (4) to provide proper professional services to the members of the state bar;

         (5) to encourage the formation of and activities of local bar associations;
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        (6) to provide forums for the discussion of subjects pertaining to the practice of law, the

        science ofjurisprudence and law reform, and the relationship of the state bar to the public;

        and

        (7) to publish information relating to the subjects listed in Subdivision (6).

Id. at § 81.012.

        The Bar's members elect the Bar's officers and the majority of the members of the Bar's

Board of Directors. Id. at   §   81.019(b), 81.020(b). Almost half of the Bar's annual revenue comes

from membership fees, and the Texas Supreme Court and the Bar's Board of Directors share

responsibility for setting the fee amount.   See id.   at   §§   81.022, 81.054(a). The Board may increase

fees by up to 10% once every six years. Id. at    §    81.022(a-4). All other fee increases are subject to

a referendum vote by the Bar's members. Id. at          §   81.022(a-3). The annual membership fees are

currently $68 for active members licensed less than three years; $148 for active members licensed

between three and five years; $235 for active members licensed for at least five years; and $50 for

inactive members. Members 70 years of age and older are exempt from paying membership fees.

The Bar has not raised annual membership fees since 1991, and remains the lowest among the states

with integrated bars.2

        In 2003, the Texas Legislature amended the Act to require non-exempt Texas lawyers to pay

a $65 legal-services fee in addition to the membership fee. Id at.         § 81 .054(c)-(d),   (j)-(k). The Bar

does not receive or control that fee. Id. at § 81 .054(c)-(d). The Texas Supreme Court distributes the



        2
          An integrated bar is defined as an official state organization requiring membership and
financial support of all attorneys admitted to practice in that jurisdiction. It has two facets which set
it apart from a voluntary bar associationofficial organization by authority of the state and
compulsory membership. See Tex. Gov't Code § 81.102.
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legal-services fees to the Texas Comptroller, who allocates half to the Supreme Court Judicial Fund

to fund civil legal services for the indigent and the other half to the Fair Defense Account of the

state's general-revenue fund for indigent-criminal-defense programs. Id. at § 81.054(c).

       The Texas Legislature periodically conducts "sunset" reviews of the Bar to determine

"whether a public need exists" for the Bar's continued existence, including "whether less restrictive

or alternative methods of performing any function that the agency performs could adequately protect

or provide service to the public." Tex. Gov't Code             §   325.011. The Bar has undergone sunset review

four times, the last in 2017, when the Texas Legislature voted to continue the Bar's existence until

the next sunset review in 2029.     See   S.B. No. 302 (2017).

       Plaintiffs Tony K. McDonald and Joshua B. Hammer are attorneys licensed to practice law

in Texas and active members of the Bar. Plaintiff Mark S. Pulliam is an inactive member ofthe Bar.

Plaintiffs filed suit against Defendants, all of whom are members of the State Bar of Texas Board

of Directors, in their official capacities only, seeking declaratory and injunctive relief to remedy

alleged unconstitutional coerced speech and association in violation of the First and Fourteenth

Amendments of the United States Constitution. Plaintiffs assert that the mandatory requirement that

attorneys in Texas mustjoin, associate with, and pay dues to the Bar violates their First Amendment

right to freedom of speech and association.          See       42 U.S.C.   §   1983. Plaintiffs seek a declaratory

judgment that Texas law compelling them to join, associate with, and financially support the Bar

violates the First and Fourteenth Amendments.                  See   28 U.S.C.    §   2201. Plaintiffs further seek

attorney's fees and costs.   See   42 U.S.C.   §   1988.

       Plaintiffs' motion for partial summary judgment on liability asserts that the current structure

of the Bar violates their First Amendment rights in three ways: (1) by compelling membership in,

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and financial support for, the Bar in violation of Plaintiffs' First Amendment right to freedom of

speech and association; (2) by compelling Plaintiffs to support the Bar's activities beyond attorney

regulation in violation the First Amendment; and (3) and by implementing procedures for identifying

non-chargeable expenses in violation the First Amendment. Defendants' cross-motion for summary

judgment on all of Plaintiffs' claims asserts that Plaintiffs have failed to raise any plausible

constitutional violations.

Arguments

       Plaintiffs argue that under Janus    v.   American Federation of State, County, & Municipal

Employees, 138 S. Ct. 2448 (2018), an organization that collects compelled dues must adopt

procedures under which members opt in to supporting political and ideological causes, rather than

charging everyone the fee by default and expecting objectors to opt out. Defendants argue that

Lathrop v. Donohue, 367 U.S. 820 (1961) and Keller v. State Bar ofCalifornia, 496 U.S.         1   (1990),

control, holding that mandatory bar membership and mandatory bar fees do not violate the First

Amendment. Defendants further assert that Plaintiffs' reliance on Janus is misplaced, because

Janus's reassessment of whether a state's interests in maintaining labor peace and avoiding

nonmember free riding on unions' collective-bargaining efforts justify compelled payments from

nonmembers does not undermine the United States Supreme Court's endorsement of the state

interests in professional regulation and legal-service quality served by integrated bars.

Summary-judgment review

       "Summary judgment is required when 'the movant shows that there is no dispute as to any

material fact and the movant is entitled to judgment as a matter of law." Trent v. Wade, 776 F.3d

368, 376 (5th Cir. 2015) (quoting   FED. R. CIV. P.   56(a)). "A genuine dispute of material fact exists
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when the 'evidence is such that a reasonable jury could return a verdict for the nonmoving party."

Nola Spice Designs, LLC      v.   Haydel Enters., Inc., 783 F.3d 527, 536 (5th Cir. 2015) (quoting

Anderson   v.   Liberty Lobby, 477 U.S. 242, 248 (1986)). "The moving party 'bears the initial

responsibility of informing the district court of the basis for its motion, and identifying those portions

of [the record] which it believes demonstrate the absence of a genuine issue of material fact." Id.

(quoting EEOC v. LHC Grp., Inc., 773 F.3d 688, 694 (5th Cir. 2014)). A fact is material if "its

resolution could affect the outcome ofthe action." Aly v. City ofLake Jackson, 605 Fed. App'x 260,

262 (5th Cir. 2015). "If the moving party fails to meet [its] initial burden, the motion [for summary

judgment] must be denied, regardless of the nonmovant's response." Pioneer Exploration, LLC v.

Steadfast Ins. Co., 767 F.3d 503 (5th Cir. 2014).

        "When the moving party has met its Rule 56(c) burden, the nonmoving party cannot survive

a summary judgment motion by resting on the mere allegations of its pleadings." Duffie          v.   United

States, 600 F.3d 362, 371 (5th Cir. 2010). The nonmovant must identify specific evidence in the

record and articulate how that evidence supports that party's claim. Willis v. Cleco Corp., 749 F.3d

314, 317 (5th Cir. 2014). "This burden will not be satisfied by 'some metaphysical doubt as to the

material facts, by conclusoiy allegations, by unsubstantiated assertions, or by only a scintilla of

evidence." Boudreaux v. Swfi Transp. Co., Inc., 402 F.3d 536, 540 (5th Cir. 2005). In deciding

a summary-judgment motion, the court draws all reasonable inferences in the light most favorable

to the nonmoving party. Darden v. City of Fort Worth, 866 F.3d 698, 702 (5th Cir. 2017).

        On cross motions for summary judgment, the court reviews each party's motion

independently, viewing the evidence and inferences in the light most favorable to the nonmoving

party, and determining for each side whetherjudgment may be rendered in accordance with the Rule


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56 standard. Amerisure Ins. Co. v. Navigators Ins. Co., 611 F.3d 299, 304 (5th Cir. 2010) (internal

citation and quotation omitted); Shaw Constr.    v.   ICF Kaiser Engrs., Inc., 395 F.3d 533 fn. 8 & 9(5th

Cir. 2004).

Analysis

        Counts One and Two

       In Counts One and Two of Plaintiffs' First Amended Complaint, Plaintiffs assert that

compelling membership in and financial support for the Bar and compelling Plaintiffs to support the

Bar's activities beyond attorney regulation violates Plaintiffs' First Amendment right to freedom of

speech and association. See Janus, 138 S. Ct. at 2463-64. Plaintiffs acknowledge that the United

States Supreme Court upheld compulsory state bars in Keller, but they argue that the Court did so

only by relying heavily on Abood      v.   Detroit Board    of Education, 431 U.S. 209 (1977), which

Plaintiffs argue the Court explicitly overruled in Janus. See 138 S. Ct. at 2478-79. Plaintiffs argue

in the alternative that even if Keller remains good law, nothing in Keller authorizes a state to compel

bar membership when the bar engages in political or ideological activities.

       Defendants argue that Lathrop and Keller foreclose Plaintiffs' claims by squarely holding

that the First Amendment permits states to adopt integrated bars supported by compulsory

membership fees to further the state's interests in "regulating the legal profession or 'improving the

quality of the legal service available to the people of the State." Keller, 496 U.S. at 14 (quoting

Lathrop, 367 U.S. at 843). Defendants further argue that contrary to Plaintiffs' contentions, Janus

did not overrule Keller, and integrated bars may engage in activities that some members may view

as "political or ideological" in nature so long as they advance the legitimate state interests recognized

in Keller.


                                                      []
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        In Lathrop, the plaintiff claimed that Wisconsin's establishment of an integrated bar with

compulsory membership fees violated his First Amendment rights of freedom of association and free

speech. 367 U.S. at 82 1-23. The Supreme Court concluded that Wisconsin's integrated bar did not

violate the First Amendment's guarantee of freedom of association, reasoning that a state may

constitutionally require attorneys to pay dues to a state bar "in order to further the State's legitimate

interests in raising the quality of professional services," even when an integrated bar "engages in

some legislative activity," as long as "the bulk of State Bar activities serve the function       . . .   of

elevating the educational and ethical standards of the Bar to the end of improving the quality of the

legal service available to the people of the State." Id. at 843. Concluding that the record was

insufficiently developed to provide a "sound basis" for deciding whether the integrated bar violated

the plaintiff's right to free speech, the Lathrop Court declined to resolve that issue. Id. at 845-48.

        However, Keller did resolve the free-speech issue left open by Lathrop. The Keller plaintiffs

claimed that the integrated California State Bar's "use of their compulsory dues to finance political

and ideological activities.   . .   with which they disagree violate[d] their rights of free speech." 496

U.S. at 9. The Court held that lawyers "may be required to join and pay dues to the State Bar," and

articulated "the scope of permissible dues-financed activities in which the State Bar may engage."

Id. at 4. The Court concluded that integrated bars "are justified by the State's interest in regulating

the legal profession and improving the quality of legal services." Id. at 13. Keller held that state bars

may use mandatory membership fees to "fund activities germane to those goals," but may not use

mandatory fees to "fund activities of an ideological nature which fall outside of those areas of

activity." Id. at 14. Therefore, under Keller, integrated state bars' use of membership fees complies

with the First Amendment if the "expenditures are necessarily or reasonably incurred for the purpose
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ofregulating the legal profession or 'improving the quality of the legal service available to the people

of the State." Id (quoting Lathrop, 367 U.S. at 843). Keller acknowledges that determining on

which side of that constitutional line a particular expenditure falls "will not always be easy," but the

Court explained that "the extreme ends of the spectrum are clear": although mandatory fees may not

be used for advancing "gun control or nuclear weapons freeze" initiatives, they may be used for

"activities connected with disciplining members of the Bar or proposing ethical codes for the

profession." Id. at 15-16.

       Janus did not disturb the binding holdings of Lathrop and Keller.3 Janus addressed First

Amendment issues applicable only to public-sector employees. 38 S. Ct. at 2478. The Court held

that arrangements whereby a governmental entity and a labor organization agree to require

government employees to pay fees that are used by the union to negotiate how governmental funds

are spent, and in what amounts, implicate the First Amendment in ways distinct from agency fees

in the private sector. Public-sector fees involve "the government.     . .   compel[ling] a person to pay

for another party's speech," on matters involving "the budget of government" and "the performance

of government services." Id. at 2467, 2473. The Court also indicated that public unions raise

particular First Amendment concerns that are not raised by integrated state bars, noting that

collective bargaining by public unions has a special "political valence" that the Court in Abood did

not appreciate at the time. Janus, 138 S. Ct. at 2483. Private-sector agency fees raise no such issues.




          The United States District Court for the Eastern District of Louisiana also has concluded
that Janus did not overrule Lathrop and Keller. See Boudreaux v. La. State Bar Ass 'n, No. 2:1 9-cv-
11962, slip op. at 55-56 (E.D. La. Jan. 13, 2020), appeal docketed. No. 20-30086 (5th Cir. Feb. 10,
2020). See also Fleck v. Wetch, 937 F.3d 1112, 1118 (8th Cir. 2019), cert. denied, 140 S. Ct. 1294
(Mar. 9, 2020).

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Like Keller and Lathrop , this case involves mandatory membership in a bar association, not a public-

sector union.

        Although Plaintiffs contend that Keller relies heavily onAbood, the Supreme Court decided

Keller principally in the context of rejecting the contention that the California State Bar's "status as

a regulated state agency exempted it from any constitutional constraints on the use of its dues." 496

U.S. at 10. Keller merely drew an "analogy" between integrated state bars and labor unions. Id. at

12.   Janus's reassessment of the state interests that Abood concluded justified agency fee

arrangements did not undermine Keller's recognition of the very different state interests in

professional regulation and legal-service quality served by integrated bars. See id. at 13-14.

        Moreover, the majority opinion in Janus did not address Keller or respond to the dissent's

assertion that Keller was a "case.   . .   involving compelled speech subsidies outside the labor sphere

[that] today's decision does not question." 138 S. Ct. at 2498 (Kagan, J., dissenting). Keller and

Lathrop directly control under the facts of this case, and therefore bind this court. See Rodriguez de

Qu/as v. Shearson/Am. Express, Inc., 490 U.S. 477, 484 (1989) ("If a precedent of this Court has

direct application in a case, yet appears to rest on reasons rejected in some other line of decisions,

the Court of Appeals should follow the case which directly controls, leaving to this Court the

prerogative of overruling its own decisions.").

        Additionally, the Supreme Court's decision in Harris           v.   Quinn, 573 U.S. 616 (2014),

confirms that Keller fits within the "exacting scrutiny" framework applied in Janus. Harris applied

"exacting scrutiny" in holding that states could not constitutionally charge non-public employees

agency fees. See id. at 648-51. As later explained by Janus, exacting scrutiny requires that a

compelled subsidy "serve a compelling state interest that cannot be achieved through means


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significantly less restrictive of associational freedoms." Janus, 138 S. Ct. at 2465 (quoting Knox v.

Serv. Emps.         Int'l Union, 567 U.S. 298, 310 (2012)). Harris explicitly considered whether the

exacting-scrutiny framework would disturb its prior holding in Keller that states may require lawyers

to pay fees to fund bar activities furthering the "State's interest in regulating the legal profession and

improving the quality of legal services." Harris, 573 U.S. at 655 (quoting Keller, 496 U.S. at 14).

The Court answered no, holding that Keller "fits comfortably within [the exacting-scrutiny]

framework" applied in Harris and that its decision in Harris was "wholly consistent with [the

Court's] holding in Keller." Id. at 656. Thus, the court finds no basis for holding that Janus

overrules Keller.

        Having determined that Keller applies, the court will next address whether the Bar's

challenged activities meet the Keller standard. Keller held that integrated bars "are justified by the

State's interest in regulating the legal profession and improving the quality of legal services available

to the people of the State," id. at 13; thus, state bars may use mandatory membership fees to "fund

activities germane to those goals," so long as they do not "fund activities of an ideological nature

which fall outside of those areas of activity." Id. at 14. The question is not whether the challenged

activity is "political or ideological" in the abstract, but whether the challenged activity is "germane

to" the state interests that justify integrated bars' establishment of "regulating the legal profession

and improving the quality of legal services." Id. at 13; see also United States v. United Foods, Inc.,

533 U.S. 405, 414 (2001) (under Keller, lawyers can "be required to pay moneys in support of

activities.   . .   germane to the reason justifying the compelled association"); Kingstad v. State Bar of

Wis., 622 F.3d 708, 716 (7th Cir. 2010) (question is "whether challenged expenditures             . . .   are

reasonably related to the constitutionally relevant purposes of [the mandatory] association").


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         "The purpose of the State Bar of Texas is to engage in those activities enumerated at

[Section] 81.012 of the State Bar Act. The expenditure of funds by the State Bar of Texas is limited

both as set forth at [Section] 81.034 of the State Bar Act and in Keller." Board Policy Manual

§   3.14.01 ("Policy Manual"). The court finds that the following Bar activities Plaintiffs challenge

comply with the Keller standard because they further Texas's interest in professional regulation or

legal-service quality improvement.

         Lobbying.   Members of the Bar's voluntary, subject-matter sections coordinate all lobbying

activities without compensation from the Bar for their efforts. The Bar follows a detailed, multi-step

process to ensure that its legislative activities comply with the requirements of the State Bar Act and

Keller. In addition, the Bar maintains a policy against engaging in legislative activities that "carry

the potential of deep philosophical or emotional division among a substantial segment of the

membership of the bar." Policy Manual       §   8.01.03(c). Participating in legislative activities such as

seeking to amend or repeal unconstitutional laws benefits the legal profession and improves the

quality of legal services because it reduces the risk that lawyers, their clients, members ofthe public,

or government officials will rely on laws that judicial decisions have rendered invalid. To date no

personPlaintiffs included have raised an objection under the Bar's protest procedure from the time

of its adoption in 2005 until the filing of Plaintiffs' suit.

         Access to Justice Programs. The Texas Supreme Court established the Texas Access to

Justice Commission in 2001 in response to findings by a statewide planning group that many

poverty-stricken people in Texas are underrepresented, and that gaps exist in developing a

comprehensive, integrated statewide civil-legal-services-delivery system in Texas. The Texas

Supreme Court's order creating the Commission expressly provides that it is prohibited from using


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Bar funds "for influencing the passage or defeat of any legislative measure unless the measure relates

to the regulation ofthe legal profession, improving the quality of legal services, or the administration

of justice and the amount of the expenditure is reasonable and necessary." Tex. Gov't Code

§   81.034.

         In addition, the preamble to the Texas Disciplinary Rules of Professional Conduct urges

attorneys to be "mindful of deficiencies in the administration ofjustice and of the fact that the poor,

and sometimes persons who are not poor, cannot afford adequate legal assistance." Tex. Disciplinary

R.   Prof Conduct preamble ¶ 5, reprinted in Tex. Gov't Code Ann., tit. 2, subtit. G, app. A (West
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2013). The Bar advances Texas' interest in professional regulation by taking steps to assist lawyers

in fulfilling their "ethical responsibility to provide public interest legal service." Tex. Disciplinary

R.   Prof Conduct 6.01 cmt.
         1                        5.

         Diversity Initiatives. Texas has a long history of discrimination in the legal profession and

legal education. See, e.g., League of UnitedLatinAm. Citizens, Council No. 4434 v. Clements, 999

F.2d 831, 866 (5th Cir. 1993) (en bane) (noting "Texas' long history of discrimination against its

black and Hispanic citizens in all areas of public life"). The Bar's diversity-related initiatives seek

to reduce those barriers and promote a fairness and equity among lawyers help to build and maintain

the public's trust in the legal profession and the judicial process as a whole, advancing Texas's

interests in professional regulation and improving the quality of legal services.

         Continuing Legal Education. The Bar's Continuing Education programs assist Bar members

in satisfying minimum continuing legal education requirement in furtherance of the members'

professional duty to maintain the requisite knowledge of a competent practitioner. See Tex. State

Bar R. art. XII,   § 6,   reprinted in Tex. Gov't Code Ann., tit. 2. subtit. G, app. A (West 2013); Tex.


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Disciplinary R. Prof'l Conduct 1.01 cmt. 8. The programs' fees aid in funding the Bar's operations,

without which the Bar would likely increase its membership fees. The Bar regularly publishes

disclaimers stating that the opinions expressed by speakers in continuing legal education programs

"do not necessarily reflect opinions of the State Bar of Texas, its sections, or committees."

        Bar Journal. The Bar publishes the Texas Bar Journal, providing articles regarding "legal

matters and the affairs of the []Bar and its members." State Bar R. art. IX. The Bar is required to

publish information of interest to the legal profession, including notices of disciplinary actions and

amendments to evidentiary and procedural rules. See, e.g., Tex. R. Disciplinary P. 6.07; Tex. Gov't

Code § § 22.108(c), 22.109(c). The Texas Bar Journal aims to "report [on] matters objectively" and

to feature articles expressing "[v]arious viewpoints," including the "opinions ofpeople differing with

the State Bar andlor Bar leaders." Policy Manual § 7.05.02. Each issue includes a disclaimer making

clear that publication of any article or statement is not to be deemed an endorsement of the views

expressed therein. Like the continuing legal education programs, the Texas Bar Journal advances

the interest of professional regulation and improving legal-service quality by keeping Bar members

up-to-date on developments in the law and the legal profession. Cf Lehnert v. Ferris Faculty Ass 'n,

500 U.S. 507,529(1991) (rejecting First Amendment challenge to expenditures on union's statewide

journal).

       Advertising. Keller authorizes expenditures to inform lawyers and the public regarding the

Bar's programs and the Bar's role in regulating the legal profession and advancing the quality of

legal services. See Kingstad, 622 F.3d at 718-19 (upholding state bar public image campaign). See

also Gardner   v.   State Bar of Nev., 284 F.3d at 1043 (9th Cir. 2002). Indeed, the Bar's advertising

activities are "highly germane to the purposes for which the State Bar exists," Gardner, 284 F.3d at


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1043, because they inform lawyers and the public about the Bar's programs and the Bar's role in

furthering those interests.

        The court concludes that the $65 legal-services fee added by the Texas Legislature in 2003

is not subject to Keller because it is not used to fund any Bar expenditures, but rather is used by the

Texas Supreme Court and the Texas Indigent Defense Commission to promote legal services for the

indigent. See Tex. Gov't Code     § 81 .0549(c)(d).    Even if Keller applies, the fee satisfies Keller

becauselike the Bar's access-to-justice programspromoting legal services for the indigent is

"germane to" the state's interests in regulating the legal profession and improving the quality of legal

services. Keller, 496 U.S. at 13-14.

        Count Three

       In Count Three, Plaintiffs assert that the Bar's implementation of procedures for identif'ing

non-chargeable expenses violate the First Amendment because the Bar has failed to adopt the precise

procedures established by the Supreme Court in Chicago Teachers Union v. Hudson, 475 U.S. 292

(1986). The court notes, however, that Keller did not address the question ofwhether integrated bars

can adopt "alternative procedures" to prevent bar members from being compelled to fund non-

chargeable expenses. See Keller, 496 U.S. at 17. Having previously concluded that the Bar's

procedures ensure that all of its expenditures comply with Keller, the court further concludes that

the Bar's existing policies and procedures achieve the objective of procedural safeguards in the First

Amendment by ensuring that "the government treads with sensitivity in areas freighted with First

Amendment concerns." Hudson, 475 U.S. at 303 n.12.

       The Bar provides members with advance, detailed notice of its proposed expenditures, along

with several opportunities to object to those expenditures before they occur. Bar members have


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multiple opportunities to object to proposed expenditures before they occurnone of which Plaintiffs

have undertakenincluding, but not limited to, (1) at the annual public budget hearing required under

Tex. Gov't Code   §   81.022(b), (2) at the annual Bar Board meeting at which the budget is approved

under Policy Manual     §   3.02.03, and (3) under the Policy Manual's protest procedure, which allows

members to "object to a proposed or actual expenditure," Policy Manual         §   3.14.02. In addition,

members can object to proposed legislative activities and participate in the Legislative Policy

Subcommittee meeting on the Bar's proposed legislative program. Because the Bar has adequate

procedural safeguards in place to protect against compelled speech and because mandatory Bar

membership and compulsory fees do not otherwise violate the First Amendment, Plaintiffs' claim

that the Bar unconstitutionally coerces them into funding allegedly non-chargeable activities without

a meaningful opportunity to object necessarily fails as a matter of law.

Conclusion


       IT IS ORDERED that Plaintiffs' Motion for Partial Summary Judgment on Liability filed

March 25, 2019 (Doc. #6) is DENIED.

       IT IS FURTHER ORDERED that Defendants' Cross-Motion for Sunmiary Judgment filed

May 13, 2019 (Doc. #35) is GRANTED.4




            Having granted summary judgment in favor of Defendants, the court need not address
Plaintiffs' Motion for Preliminary Injunction filed March 25, 2019 (Doc. #5). Accordingly, it is
ORDERED that Plaintiffs' Motion for Preliminary Injunction filed March 25, 2019 (Doc. #5) is
DISMISSED.

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A Final Judgment shall be rendered subsequently in this cause.

SIGNED this               day of May, 2020.




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